     Case 4:18-cv-01547 Document 17 Filed in TXSD on 08/02/18 Page 1 of 26



                            UNITED STATES DISTRICT COURT

                       FOR THE SOUTHERN DISTRICT OF TEXAS

                                     HOUSTON DIVISION



                                           )
PEOPLE FOR THE ETHICAL TREATMENT )
OF ANIMALS, INC.,                          )           Civil Action No. 4:18-cv-01547
                                           )
                                           )
                           Plaintiff,      )
                                           )
        v.                                 )
                                           )
MICHAEL K. YOUNG, in his official capacity )
as President of Texas A&M University,      )
                                           )
                           Defendant.      )
                                           )
                                           )



 FIRST AMENDED COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF

Plaintiff, by its counsel, makes its complaint against defendant as follows:

       1.      Defendant Michael K. Young, the President of Texas A&M University

(“TAMU”), has violated the First Amendment rights of Plaintiff People for the Ethical Treatment

of Animals, Inc. (“PETA”), by deleting comments PETA posted to the TAMU Facebook page,

and blocking PETA from posting additional comments. TAMU’s deletions specifically target

comments that criticize TAMU for the practices of its dog laboratory, which PETA believes are

cruel and inhumane. Specifically, TAMU censored PETA’s comments by automatically blocking

certain words, including “PETA,” “cruelty,” and “lab,” from TAMU’s Facebook page. Blocking

these words serves to bar posts that are essential to PETA’s message, and that TAMU knows are

part of PETA’s public awareness campaign. TAMU’s actions are viewpoint-based and

unreasonable, which the First Amendments prohibits in both public and non-public forums,
     Case 4:18-cv-01547 Document 17 Filed in TXSD on 08/02/18 Page 2 of 26



including the comment section of TAMU’s Facebook page. Also, TAMU’s actions are content-

based and not narrowly tailored, which the First Amendment prohibits in designated public

forums, including, again, the comment section of TAMU’s Facebook page. PETA seeks

declaratory and injunctive relief.


                                       Jurisdiction and Venue

       2.        This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1331 and 28

U.S.C. § 1343.

       3.        Venue is proper in this Court under 28 U.S.C. § 1391(b)(2). A substantial part of

the events giving rise to this claim occurred in this District.


                                               Parties

       4.        Plaintiff People for the Ethical Treatment of Animals, Inc. (“PETA”) is a section

501(c)(3) animal-protection advocacy organization and charity located in Norfolk, Virginia.

Founded in 1980, PETA is dedicated to protecting animals from abuse, neglect, and cruelty. It

undertakes these efforts through public education, cruelty investigations, research, animal rescue,

legislation, special events, celebrity involvement, protest campaigns, administrative petitions,

and lawsuits to enforce laws enacted to protect animals.

       5.        Defendant Michael K. Young is the President of Texas A&M University

(“TAMU”). Young has authority over all TAMU policies and practices, including those

challenged here. Plaintiffs sue him in his official capacity. TAMU is a public research university

located in College Station, Texas, and the second largest public university, by student

enrollment, in the United States. TAMU is the only school to be designated a land, sea, and

space grant University – reflecting an extensive record of scientific research funded through U.S.

government grants and organizations.



                                     First Amended Complaint – 2
          Case 4:18-cv-01547 Document 17 Filed in TXSD on 08/02/18 Page 3 of 26



                                        Factual Allegations

                          Government’s Pervasive Use of Social Media

           6.    Billions of people use social media platforms to communicate with each other,

engage with news content, and share information. The Pew Research Center found that seven in

ten Americans use social media in this way.1 Facebook is by far the most popular platform, with

68% of U.S. adults using it.2

           7.    Governments all over the country – indeed, all over the world – use various social

media platforms to disseminate important information to the public, to foster public discussion,

and to allow debate related to the policies of the day with each other and with their constituents,

all in a rapid and freely accessible manner. In 2016, a United Nations study on the use of social

media for the delivery of government services and for public participation reported that 152

member states out of 193 (roughly 80%) include links to social media and other networking

features on their national websites.3 Also, 20% of the member states reported that engagement

through social media led to new policy decisions and services.4 Member countries viewed social

media as a low-cost, ready-made solution for posting basic public-sector information and for

citizen collaboration.5 Facebook actively encourages this form of civic engagement through its

“Town Hall” feature, which facilitates connections between individual Facebook users and the

1
 Pew Research Center, Social Media Fact Sheet (survey conducted Jan. 3-10, 2018),
http://www.pewinternet.org/fact-sheet/social-media/.
2
    Id.
3
 U.N. Dep’t of Econ. And Soc. Affairs, United Nations E-Government Survey 2016: E-
Government in Support of Sustainable Development, at 65, U.N. Sales No. E.16.II.H.2 (2016),
http://workspace.upan.org/sites/Internet/Documents/UNPAN97453.pdf.
4
    Id. at 68.
5
    Id. at 3.



                                   First Amended Complaint – 3
     Case 4:18-cv-01547 Document 17 Filed in TXSD on 08/02/18 Page 4 of 26



Facebook pages of their elected government officials.6

       8.      In the last decade, the political and public use of social media in the United States

has increasingly factored into elections, the legislative process, and government services. Federal

agencies and sub-agencies have registered more than 10,000 social media profiles with the

United States Digital Service,7 and many more active government profiles remain unregistered.

Federal agencies frequently use social media to promote U.S. policy interests.8

       9.      Members of Congress actively use social media to connect with their constituents.

All 100 Senators and the overwhelming majority of Representatives use social media.9 In a

survey of members of Congress and their staff, the Congressional Management Foundation

found that 76% of respondents felt that social media enabled more meaningful interactions with

constituents; 70% found that social media made them more accountable to their constituents; and

71% said that constituent comments directed to the representative on social media would

influence an undecided lawmaker.10

6
  Sarah Perez, Facebook officially launches “Town Hall” for contacting government reps, adds
local election reminders, TechCrunch, (Mar. 27, 2017),
https://techcrunch.com/2017/03/27/facebook-officially-launches-town-hall-for-contacting-
government-reps-adds-local-election-reminders/.
7
 For a searchable database of registered federal government profiles, see
https://usdigitalregistry.digitalgov.gov/.
8
  For example, the Obama Administration’s Department of Health and Human Services used its
social media feeds to advocate for passage of the Affordable Care Act, and then to help persuade
at least 4 million people to sign up with HealthCare.gov in the first year. Joanne Kenen, The
selling of Obamacare 2.0, Politico (Nov. 13, 2014),
http://www.politico.com/story/2014/11/obamacare-enrollment-2015-112846.
9
 Congressional Research Service, Social Media in Congress: The Impact of Electronic Media on
Member Communications, R44509 (May 26, 2016), https://fas.org/sgp/crs/misc/R44509.pdf.
10
  Congressional Management Foundation, #SocialCongress2015 (2015),
http://www.congressfoundation.org/storage/documents/CMF_Pubs/cmf-social-congress-
2015.pdf.



                                  First Amended Complaint – 4
     Case 4:18-cv-01547 Document 17 Filed in TXSD on 08/02/18 Page 5 of 26



       10.     State legislators also use social media to communicate with their constituents and

debate controversial issues. For example, New York legislators and the Governor’s office

debated funding and employee salaries on Twitter.11 In Maryland, legislators used social media

to debate the benefits of state legislation versus county regulations.12 And in Georgia,

Representatives engaged in heated debate over the removal of confederate monuments.13

Further, local police departments, councilpersons, and mayors use their Facebook, Twitter, and

other social media feeds as real-time channels for important community information. Cleveland

Mayor Frank Jackson conducts “Twitter town halls,” where residents tweet questions and the

mayor responds through a live video.14

       11.     Social media platforms used by governmental agencies and officials allow the

public to communicate back to the agency and with each other. This allows individuals to

directly respond to policies proposed by their elected representatives, including suggestions and

criticisms, which enables greater citizen input in our representative democracy.

       12.     When government uses social media as discussed above, it creates public forums

for private speech, in which people have First Amendment rights to speak. Government-operated

11
  Tom Precious, Cuomo and lawmakers start new year on nasty note, via Twitter and speeches,
The Buffalo News (Jan. 4, 2017), http://buffalonews.com/2017/01/04/cuomo-lawmakers-start-
new-year-nasty-note-via-twitter-speeches/.
12
  Annie Linskey, In Annapolis, a second debate in cyberspace, The Baltimore Sun (Mar. 17,
2012), http://www.baltimoresun.com/news/maryland/politics/bs-md-lawmaker-twitter-
20120316-story.html.
13
  Greg Bluestein, Georgia lawmaker: Talk of ditching Confederate statutes could cause
Democrat to ‘go missing’, The Atlanta Journal Constitution (Aug. 30, 2017),
http://politics.blog.ajc.com/2017/08/29/georgia-republican-warns-democrat-she-could-go-
missing-over-criticism-of-civill-war-monuments/.
14
  Andrew J. Tobis, Cleveland Mayor Frank Jackson fields questions – some of them not so
tough – in his first Twitter town hall, Cleveland.com (Aug. 30, 2017),
http://www.cleveland.com/cityhall/index.ssf/2017/08/cleveland_mayor_frank_jackson_60.html.




                                  First Amended Complaint – 5
     Case 4:18-cv-01547 Document 17 Filed in TXSD on 08/02/18 Page 6 of 26



social media platforms that allow the general public to comment on governmental posts, and thus

communicate directly with the government and other members of the public, resemble the

paradigmatic speakers’ corner in a public park. See Perry Education Assn. v. Perry Local

Educators’ Assn., 460 U.S. 37, 45 (1983) (identifying streets and parks as “quintessential public

forums” for “assembly, communicating thoughts between citizens, and discussing public

questions”). As the Supreme Court recognized just last year, “[w]hile in the past there may have

been difficulty in identifying the most important places (in a spatial sense) for the exchange of

views, today the answer is clear. It is cyberspace—the ‘vast democratic forums of the Internet’ in

general, Reno v. American Civil Liberties Union, 521 U.S. 844, 868 (1977), and social media in

particular.” Packingham v. North Carolina, 137 S. Ct. 1730, 1735 (2017).


                                            Facebook

       13.     Facebook is a social media platform with over 2.2 billion users worldwide,

including 184 million daily active users in the United States and Canada.

       14.     The platform allows users to create a “profile” under their name and photograph

where they can curate their online presence by posting content on their “wall” (a virtual bulletin

board), including text, photos, videos, and external links. Users are able to “friend” one another,

which enables them to see and comment on each other’s posts and walls. They may do so in their

“news feed,” the home-screen for all Facebook users that displays a timeline of posts and activity

based on an algorithm that determines interest and relevancy for individual users.

       15.     Facebook also allows individuals and organizations to create their own “Pages.”

Pages offer different privacy, publishing, and content moderation functionality than individual

user profiles. Generally speaking, Pages are more public and less private. Using default settings,

any member of the public is able to view posts on an organization’s Page as well as comment on




                                  First Amended Complaint – 6
     Case 4:18-cv-01547 Document 17 Filed in TXSD on 08/02/18 Page 7 of 26



that Page. Users may also “follow” a Page, in order to receive notifications about activity on the

Page or see Page posts in their news feed. Users can also “like” a Page, which will be viewable

on their own user profile and automatically follow the organization’s Page.

       16.     Page Privacy Settings. All Pages on Facebook are public by default. To remove a

Page from public view, the administrator of the Page must “unpublish” it. Organizations can put

age and country restrictions on a Page to limit who can view it. Organizations can also ban

individual Facebook users from posting on, commenting on, and liking their Page, but banning

will not prevent users from viewing the Page.

       17.     Page Posting Settings. Organizations can post text, photo, and video content on

their Page, as well as links to outside content. Individual Facebook users may “comment” under

posts created by the Page administrators. Additionally, individual Facebook users can initiate

their own posts to an organization’s Page. These posts are located under the “Visitor Posts” tab.

Visitor posts include original content placed specifically on the Page by third parties, as well as

instances where users “tag” (or link to) the organization on their own user profiles. Organizations

can disable visitor post functionality or require manual administrator review and prior approval

of every visitor post before it is viewable to the general public.

       18.     Page Moderation Settings. Organizations operating a Facebook Page may filter

out posts and comments submitted by visitors so that they do not appear publicly on the

organization’s Page. There is a generalized profanity filter that organizations can elect to turn on.

Page administrators can also establish a customized filter consisting of “blocked” words. If a

blocked word appears in a visitor’s post or comment, that content will be automatically and

immediately hidden from the Page. An organization can manually “unhide” comments subject to

the filter. Organizations can also manually hide or delete individual comments. Facebook’s help




                                   First Amended Complaint – 7
     Case 4:18-cv-01547 Document 17 Filed in TXSD on 08/02/18 Page 8 of 26



center teaches Page administrators how to use the blocked words tool and other filters (below).




                                   TAMU’s Facebook Page

       19.     TAMU maintains a Facebook Page: https://www.facebook.com/tamu/. TAMU’s

Facebook Page has over 583,000 followers and has received over 608,000 “likes” from

Facebook users. TAMU regularly posts information about educational opportunities, research

advances, and University athletics. It also posts profiles about students and other members of the

TAMU community.

       20.     Posting. On TAMU’s Facebook Page, both the University and guests to the Page

can post text and other media on TAMU’s wall. On the left of the Page is a list of content such as

Home, Posts, and Photos. The “Home” section lists only TAMU-generated media, but guests can

comment on each post. TAMU posts on a wide variety of University topics, including wins by

the baseball team, scientific advances discovered in the school’s research facilities, and




                                 First Amended Complaint – 8
     Case 4:18-cv-01547 Document 17 Filed in TXSD on 08/02/18 Page 9 of 26



photographs taken by students studying abroad. The “Posts” section includes visitor posts, which

other members of the community can see and comment on. Visitor posts not only discuss campus

related news, but include posts from the broader community, including posts by local businesses

working with the University, photographs taken by prospective students on college tours, charity

events hosted by student organizations, and meetings with student activists (such as the post by

U.S. Congressman and Senate candidate Beto O’Rouke shown below).

       21.    This is the TAMU Home page:




                                 First Amended Complaint – 9
Case 4:18-cv-01547 Document 17 Filed in TXSD on 08/02/18 Page 10 of 26



  22.   This is the TAMU Posts page:




                        First Amended Complaint – 10
    Case 4:18-cv-01547 Document 17 Filed in TXSD on 08/02/18 Page 11 of 26




       23.    This is a visitor post:




       24.    Commenting. Guests have the ability to comment on all posts – whether generated

by TAMU or a visitor. Some posts receive hundreds of comments. A Facebook algorithm

displays “top” comments based on relevance and popularity, but users may choose to view them

all. Users frequently engage with visitor posts by “reacting” to them (for example, by “liking”

them), commenting on them, or sharing them to their own Facebook profile. The type and tone

of comments varies widely. Many comments include substantive discussions about TAMU

administration decisions and controversies. For example, visitor comments discuss how TAMU




                                 First Amended Complaint – 11
    Case 4:18-cv-01547 Document 17 Filed in TXSD on 08/02/18 Page 12 of 26



obtained its mascot Reveille (a border collie who lives on campus) from a breeder rather than a

shelter, and how TAMU created a separate residential program for students on the autism

spectrum.




                                First Amended Complaint – 12
     Case 4:18-cv-01547 Document 17 Filed in TXSD on 08/02/18 Page 13 of 26




       25.     Texas A&M Social Media Policy. TAMU has posted a social media policy on the

University website.15 It states that TAMU may remove visitor generated content that:

       •      violates the terms of service

       •      contains personal identifying information or sensitive personal information, as

       defined in Tex. Code Bus & Com. §521.001 et. seq.

       •      contains offensive terms that target protected classes

       •      is threatening, harassing, or discriminatory

       •      incites or promotes violence or illegal activities

       •      contains information that reasonably could compromise public safety

       •      advertises or promotes a non-affiliated commercial product or service

       •      promotes or endorses political campaigns or candidates

15
  Exhibit A, TAMU’s Social Media Policy,
https://www.tamus.edu/marcomm/socialmedia/public/.




                                 First Amended Complaint – 13
       Case 4:18-cv-01547 Document 17 Filed in TXSD on 08/02/18 Page 14 of 26



           •      violates a trademark, copyright, or other law.16

           26.    TAMU acknowledges that comments posted to its Facebook Page are

communications to the University, and thus the state government. According to its social media

policy, documents related to the TAMU Facebook Page are subject to Texas’s Public

Information Act, Tex. Code, Chapter 552.

           Social media sites may contain communications sent to or received by state
           employees, and such communications are therefore public records subject to State
           Records Retention requirements. These retention requirements apply regardless of
           the form of the record (digital text, photos, audio, or video, for example).17

                       Discussions of TAMU Research On Its Facebook Page

           27.    Many of the TAMU-generated and visitor-generated posts on the TAMU

Facebook Page include information about and discussions of TAMU’s scientific research – a

central element of TAMU’s identity. One recent post opens up the discussion of animal testing in

the pursuit of curing human disease: “Texas A&M scientists & MD Anderson Cancer Center

doctors have a surprising partner in their fight against brain cancer - Sadie, a 9-year-old French

Bulldog!” More than 100 Facebook users shared this post, and 26 individuals posted comments

directly on the TAMU Page. The comments range from expressing support of the research to one

person questioning what happens during experimentation. There are no comments in direct

opposition to the research or calling for an end to the testing, perhaps happenstance but possibly

because TAMU purposefully removed such comments.




16
     Id.
17
     Id.




                                    First Amended Complaint – 14
Case 4:18-cv-01547 Document 17 Filed in TXSD on 08/02/18 Page 15 of 26




                      First Amended Complaint – 15
    Case 4:18-cv-01547 Document 17 Filed in TXSD on 08/02/18 Page 16 of 26




                     Advocacy Allowed by TAMU on its Facebook Page

       28.     Clicking on TAMU’s “Visitor Posts” tab shows that TAMU allows the general

public, including current students, prospective students, alumni, local businesses, and non-

affiliated persons still interested in the University, to post on a wide variety of topics. This

further shows that TAMU has allowed its Facebook Page to exist generally as a forum for the

open expression of ideas without regard to political affiliation, issue area, or whether the topic

contradicts TAMU policies.

       29.     For example, TAMU’s Facebook Page includes posts about environmental and

animal-welfare advocacy efforts. One recent community member post shares information about

an environmental movie screening. The movie advocates for people to stop using plastic straws

in order to limit their environmental impact and harm to sea turtles. The post includes TAMU’s

mascot, Reveille, to show TAMU cares about animals.




                                 First Amended Complaint – 16
    Case 4:18-cv-01547 Document 17 Filed in TXSD on 08/02/18 Page 17 of 26




       30.     Other visitor posts on the TAMU Facebook Page show community members

responding directly to TAMU actions, opening a dialogue about positions taken by the

University and the various programs that the school funds. One recent post is from U.S. Senator

Ted Cruz, tagging and applauding TAMU for ending an academic program with China. The post

is clearly political: published during an election year by a U.S. Senator about U.S. foreign policy.

It also describes a successful lobbying effort to end an academic institute and cultural exchange

program.



                                  First Amended Complaint – 17
    Case 4:18-cv-01547 Document 17 Filed in TXSD on 08/02/18 Page 18 of 26




       31.    In light of all of the foregoing, TAMU’s Facebook Page is a designated public

forum for all speech by all speakers, or at least designated for speech about the University or

topics relevant to the University, which PETA’s speech clearly falls within. At an absolute

minimum, it is a non-public forum where private speech is nonetheless encouraged and

permitted.


                 PETA’s Advocacy Against TAMU’s Canine Research Lab

       32.    At a federally-supported TAMU laboratory, dogs, including golden retrievers, are

intentionally bred to have a canine version of muscular dystrophy. PETA received information

from a whistleblower indicating that the dogs used in this TAMU laboratory are mistreated




                                First Amended Complaint – 18
     Case 4:18-cv-01547 Document 17 Filed in TXSD on 08/02/18 Page 19 of 26



during experiments and routine caretaking.18

       33.      In 2016, PETA began an advocacy campaign against TAMU’s dog lab. This

campaign has included letters to governmental officials and funding agencies, protests outside

Board of Regents’ meetings, and a video by political commentator Bill Maher.19

       34.      Social media is a critical tool in PETA’s advocacy campaigns. PETA helps

students craft petitions to end TAMU’s animal cruelty on Change.org, livestreams protests over

Twitter, and alerts its Facebook followers of corporations that sponsor TAMU’s dog lab.


             TAMU’s Blocking of PETA’s Comments to the TAMU Facebook Page

       35.      In December 2017, PETA noticed that content they attempted to post to the

TAMU Facebook Page, as well as content “tagging” TAMU, failed to appear on TAMU’s

Facebook Page, as PETA’s content had done in the past.

       36.      PETA staff used the standard visitor interface to test various posts on TAMU’s

Facebook Page and thus determine what content would result in the post being hidden from

public view. One staffer was able to post the message: “TAMU rules! Go Aggies.” However,

using the same account, she was not able to post the message: “Shut the cruel Muscular

Dystrophy dog lab down NOW! This is torture!” By testing individual words, she found that the

word “torture” always resulted in TAMU’s Facebook Page hiding her post.

       37.      Further tests by PETA staff, using the same method, found that posts containing

any of several words closely associated with PETA’s ongoing advocacy campaign against


18
  Cristina Corbin, Breeding dogs to have muscular dystrophy for medical research sparks
outcry, Fox News (Oct. 31, 2017), http://www.foxnews.com/us/2017/10/31/breeding-dogs-to-
have-muscular-dystrophy-for-medical-research-sparks-outcry.html.
19
  Bill Maher Goes Apolitical to Save Dogs in Distress at Texas A&M University, PETA Blog,
https://www.peta.org/features/bill-maher-takes-on-tamu/.




                                 First Amended Complaint – 19
    Case 4:18-cv-01547 Document 17 Filed in TXSD on 08/02/18 Page 20 of 26



TAMU’s dog lab would result in the post being automatically censored. Specifically, the tests

revealed that a post containing any of the following words (hereafter “blocked words”) would be

automatically hidden from public view on the TAMU Facebook Page:

       •      PETA

       •      Cruel

       •      Cruelty

       •      Abuse

       •      Torture

       •      MD

       •      Shut

       •      Close

       •      Stop

       •      Lab

       •      Testing

       •      Tests

       38.    After finding that PETA messages and campaign activities were being

automatically blocked from the TAMU Facebook Page, PETA filed a request for information on

January 19, 2018 under the Texas Public Information Act about how TAMU manages the

Facebook Page, including what settings TAMU implemented on the page. TAMU returned

responsive records on June 19, 2018. Attached hereto as Exhibit B is the TAMU Facebook

settings, as Exhibit C is PETA’s Public Information Act request, and as Exhibit D is TAMU’s

formal Public Information Act response.

       39.    The June 19, 2018 Public Information Act records show that TAMU Page settings




                                First Amended Complaint – 20
    Case 4:18-cv-01547 Document 17 Filed in TXSD on 08/02/18 Page 21 of 26



are configured so that:

               a. Anyone can publish to the Page.

               b. Anyone can add photos and videos to the Page.

               c. There are no restrictions for country or age to access the Page.

               d. TAMU automatically blocks posts containing the following words about

                   PETA and its message: abuse, abusers, lab, md, and peta.

               e. TAMU also automatically blocks posts containing the following words, most

                   of which comprise profanity or commercial speech: $, a$$, aggy, apartment,

                   ass, bastard, bastards, bit card, giftcard, hook, hook em, hookem, hell,

                   illuminati, ipaad, ipad2, ipadss, jersey, jetblue, job, ms, pad, padds, penis,

                   sale, and shit.

       40.     The TAMU Facebook Page settings released to PETA on June 20, 2018 are not

dated, and may reflect the TAMU Facebook settings at any point from January 19, 2018 to June

19, 2018. These settings may or may not reflect TAMU’s current Facebook Page settings.

Similarly, PETA’s tests reveal that certain terms have been automatically filtered on TAMU’s

Facebook page, though they do not appear on the list produced in response to PETA’s Public

Information Act request.

       41.     Apart from certain profane terms and terms closely related to automated spam,

TAMU’s blocked words are closely related to PETA’s campaign and are designed to prevent

speech critical of the dog laboratory from reaching the Facebook Page’s audience. For instance,

the terms abuse, abusers, lab, md (for muscular dystrophy), and peta are all directed toward

PETA’s speech and its viewpoint that the dog laboratory abuses dogs.

       42.     One of these PETA staff members is a TAMU alumna and a member of the




                                     First Amended Complaint – 21
    Case 4:18-cv-01547 Document 17 Filed in TXSD on 08/02/18 Page 22 of 26



TAMU educational community. In her role as a TAMU alumna, she would like to post a

comment on TAMU’s Facebook Page that criticizes TAMU’s animal testing, but TAMU’s

automatic filter blocks her from doing so.

       43.     On information and belief, when TAMU’s filter does not automatically prevent

the posting of PETA content that criticizes TAMU’s dog labs, TAMU manually removes that

content. On one day, two people posted images from PETA that criticized the dog lab. The

images appeared on TAMU’s page, and disappeared within 24 hours.

       44.     On information and belief, TAMU is using the automatic filter setting to

automatically exclude from TAMU’s Facebook Page any visitor posts that contain any of the

blocked words.

       45.     On information and belief, TAMU automatically excludes visitor posts that

contain the blocked words and manually removes other visitor posts and comments that are not

captured by the word filter in order to prevent PETA and other critics of TAMU’s dog lab from

posting any information or opinions to the TAMU Facebook Page about their campaign to end

canine muscular dystrophy experiments.

       46.     TAMU has blocked the word “PETA.” Thus, neither PETA nor affiliated

organizations using the acronym can post to the TAMU Facebook Page or tag TAMU in any

posts. Nor can any Facebook user mention PETA in a visitor post. For example, on Facebook,

PETA posted a video of a woman named Pascalline who has been fighting muscular dystrophy

for the past 40 years. The caption reads: “She lives with it & doesn’t want any more dogs to die

in the name of muscular dystrophy ‘research’ at Texas A&M University [hyperlink to the TAMU

Facebook page].” The video does not appear as a visitor post on TAMU’s Page despite the fact

that TAMU is tagged.




                                 First Amended Complaint – 22
    Case 4:18-cv-01547 Document 17 Filed in TXSD on 08/02/18 Page 23 of 26



       47.    TAMU’s choice to block the words “PETA,” “cruelty,” and “abuse” is a

purposeful and targeted act to prevent opponents of animal testing from expressing their critical

viewpoints in the forum. Likewise, blocking words like “close” and “stop,” juxtaposed with

blocking words like “lab” and “tests,” demonstrates an intent to silence PETA’s and other similar

opposing viewpoints.

       48.    Accordingly, TAMU has engaged in viewpoint-based discrimination against

speech criticizing TAMU’s dog lab, content-based discrimination against speech mentioning

TAMU’s dog lab, and speaker-based discrimination against PETA and other critics of TAMU’s

dog lab.


             TAMU’s Discrimination Against PETA’s Speech in Other Forums

       49.    TAMU’s exercise of viewpoint, content, and speaker discrimination against

PETA on its Facebook Page continues a pattern and practice of TAMU excluding PETA’s

speech from TAMU forums. These examples further demonstrate that TAMU’s automated

exclusion from its Facebook Page of the word “PETA,” and other blocked words clearly

associated with PETA’s campaign against TAMU’s dog lab, is viewpoint-based, content-based,

and speaker-based discrimination.

       50.    On or about February 1, 2017, PETA applied to TAMU Transportation Services,

a division of TAMU, to run an ad in opposition to the TAMU dog labs on the TAMU shuttle

system. TAMU rejected PETA’s application.

       51.    On or about February 1, 2017, PETA applied to The Battalion, TAMU’s official

student newspaper, to run an ad in opposition to the TAMU dog lab in the pages of the

newspaper. PETA’s application was rejected. PETA’s campaign advertisement is below.




                                 First Amended Complaint – 23
    Case 4:18-cv-01547 Document 17 Filed in TXSD on 08/02/18 Page 24 of 26




       52.    TAMU operates a Twitter account called @reveille, featuring TAMU’s mascot.

TAMU has blocked PETA’s official “verified” Twitter account, as well as two accounts

associated with individual PETA staff members, from both viewing and commenting on

TAMU’s @reveille account.


                                         Cause of Action

                           Deprivation of First Amendment Rights

       53.    Plaintiff repeats the allegations set forth above as if fully set forth herein.

       54.    Defendants’ use of automated filtering technology to censor “blocked words”

including “PETA” and other terms clearly associated with PETA’s anti-cruelty campaign

violates the First Amendment because:

       (a)    it is viewpoint-based discrimination, and it is unreasonable, which is forbidden in

all forums, both public and nonpublic;

       (b)    it is content-based discrimination, including speaker-based discrimination against

PETA, and it is not narrowly tailored to a compelling government purpose, which is forbidden in

designated public forums, and TAMU’s Facebook Page is a designated public forum; and

       (c)    it impedes PETA’s ability to petition the government for redress of grievances.




                                 First Amended Complaint – 24
    Case 4:18-cv-01547 Document 17 Filed in TXSD on 08/02/18 Page 25 of 26



                                          Prayer for Relief

       WHEREFORE, Plaintiff requests that this Court:

       1.        Declare that TAMU’s restrictions of PETA’s speech on TAMU’s Facebook Page

are unconstitutional;

       2.        Enter an injunction requiring TAMU to allow PETA to re-post its content in the

forum and prohibiting TAMU from future use of automated filtering technology to limit PETA’s

speech from the forum;

       3.        Award PETA its costs, including reasonable attorney’s fees, pursuant to 42 U.S.C.

§ 1988(b); and

       4.        Grant any additional relief as may be just and proper.

DATED: August 2, 2018                           Respectfully submitted:

                                                ______________________
                                                DAVID GREENE*
                                                California Bar No. 160107
                                                Electronic Frontier Foundation
                                                815 Eddy Street
                                                San Francisco, CA 94109
                                                415.436.9333 telephone
                                                415.436.9993 facsimile
                                                davidg@eff.org

                                                Attorney-in-Charge for Plaintiff



                                                OF COUNSEL:

                                                ADAM SCHWARTZ*
                                                California Bar No. 309491
                                                Electronic Frontier Foundation
                                                815 Eddy Street
                                                San Francisco, CA 94109
                                                415.436.9333 telephone
                                                415.436.9993 facsimile
                                                adam@eff.org




                                   First Amended Complaint – 25
Case 4:18-cv-01547 Document 17 Filed in TXSD on 08/02/18 Page 26 of 26



                                 CAMILLE FISCHER*
                                 Maryland Bar No. 201612130192
                                 Electronic Frontier Foundation
                                 815 Eddy Street
                                 San Francisco, CA 94109
                                 415.436.9333 telephone
                                 415.436.9993 facsimile
                                 cfischer@eff.org

                                 GABRIEL WALTERS*
                                 District of Columbia Bar No. 1019272
                                 U.S. District Court for D.C. No. 1019272
                                 PETA Foundation
                                 1536 16th Street NW
                                 Washington, DC 20036
                                 202.483.7382 telephone
                                 gabew@petaf.org

                                 LOCAL COUNSEL:

                                 CHRISTOPHER W. ROTHFELDER
                                 Texas State Bar No. 2408470
                                 Southern District I.D. 2449594
                                 Rothfelder & Falick, L.L.P.
                                 1201 Louisiana St., Suite 550
                                 Houston, TX 77002
                                 713.220.2288 telephone
                                 crothfelder@rothfelderfalick.com

                                 *Admitted pro hac vice

                                 Attorneys for Plaintiff
                                 People for the Ethical Treatment of Animals, Inc.




                      First Amended Complaint – 26
